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                                     IN THE UNITED STATES DISTRICT COURT
                                      FOR THE EASTERN DISTRICT OF TEXAS
                                                TYLER DIVISION



   FRACTUS, S.A.                     §
                                     §
                      Plaintiff,     §
                                     §
                 vs.                 §
                                     § Civil Action No. 6:09cv203
   SAMSUNG ELECTRONICS CO., LTD.;    §
   SAMSUNG ELECTRONICS AMERICA,      § JURY TRIAL DEMANDED
   INC.; SAMSUNG                     §
   TELECOMMUNICATIONS AMERICA,       §
   LLC; SAMSUNG ELECTRONICS          §
   RESEARCH INSTITUTE; SAMSUNG       §
   SEMICONDUCTOR EUROPE GMBH; LG §
   ELECTRONICS, INC.; LG ELECTRONICS §
   U.S.A., INC.; RESEARCH IN MOTION  §
   LTD.; RESEARCH IN MOTION CORP.;   §
   PANTECH WIRELESS, INC.; PANTECH   §
   CO., LTD; KYOCERA AMERICA, INC.,  §
   KYOCERA WIRELESS CORP.,           §
   KYOCERA COMMUNICATIONS INC.,      §
   KYOCERA CORPORATION; PALM, INC.; §
   HIGH TECH COMPUTER CORP.; HTC     §
   AMERICA, INC.; SHARP              §
   CORPORATION; SHARP ELECTRONICS §
   CORP.; UTSTARCOM, INC.; PERSONAL §
   COMMUNICATIONS DEVICES            §
   HOLDINGS, LLC; SANYO ELECTRIC     §
   CO., LTD.; AND SANYO NORTH        §
   AMERICA CORP.,                    §
                                     §
                      Defendants.    §


                                    JOINT PROPOSED DOCKET CONTROL ORDER

             It is hereby ORDERED that the following schedule of deadlines is in effect until further

   order of this Court:

    May 9, 2011                      9:00 a.m. JURY TRIAL as reached at the United States District Court,
    (Court designated date – not
                                     211 W. Ferguson, 3rd Floor, Courtroom of Judge Leonard Davis, Tyler,
    flexible without good cause -
                                     Texas.
    Motion Required)




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    Day of Trial                    EXHIBITS & EXHIBIT LISTS: Each party shall provide the Court
                                    with one set of exhibits and three copies of the exhibit list. The Court’s
                                    preferred format for Exhibit Lists is available on the Court’s website at
                                    www.txed.uscourts.gov under “Orders & Forms.”
                                       The parties are further requested to have all exhibits labeled with the
                                    following information on each label: Designation of Plaintiff’s or
                                    Defendant’s Exhibit Number and Case Number.
                                         At the conclusion of the evidentiary phase of trial, each party shall
                                    be responsible for pulling those exhibits admitted at trial to be submitted
                                    to the jury. In addition, each party shall submit to the Court a Final
                                    Exhibit List of all of their exhibits admitted during trial.
                                       At the conclusion of trial, all boxes of exhibits shall be returned to
                                    the respective parties and the parties are instructed to remove these
                                    exhibits from the courtroom.
                                        Within two business days of the conclusion of trial, each party shall
                                    submit to the Court the following:
                                            (1) A disk or disks containing all admitted trial exhibits in PDF
                                    format. If tangible exhibits were admitted, such exhibits shall be
                                    substituted with a photograph to be converted to a PDF file and shall be
                                    included in the Court’s disk of admitted exhibits. If the Court ordered
                                    any exhibits sealed during trial, the Sealed Exhibits shall be copied on a
                                    separate disk.
                                              (2) A disk or disks containing the transcripts of Video
                                    Depositions played during trial, along with a copy of the actual video
                                    deposition.
                                         After verification of exhibit lists by the Clerk, the lists shall be filed
                                    by the Clerk, and the disk or disks containing the exhibits in PDF format
                                    shall be stored in the Clerk’s Office, Tyler Division.
    May 2, 2011                     9:00 a.m. JURY SELECTION at the United States District Court, 211 W.
                                    Ferguson, 3rd Floor, Courtroom of Judge Leonard Davis, Tyler, Texas.
    Court designated date – not
    flexible without good cause -
    Motion Required

    Apr. 21, 2011                   9:00 a.m. PRETRIAL CONFERENCE at the United States District Court,
                                    211 W. Ferguson, 3rd Floor, Courtroom of Judge Leonard Davis, Tyler,
    Court designated date – not     Texas.
    flexible without good cause -
    Motion Required                 All pending motions will be heard.
    Apr. 18, 2010                   Parties to file estimates of the amount of time they request at jury selection and
                                    trial for (1) voir dire, (2) opening statements, (3) direct and cross examinations,
                                    and (4) closing arguments.
    Apr. 14, 2011                   Responses to Motions in Limine due.
    Apr. 7, 2011                    Motions in Limine due. The parties are directed to confer and advise the Court
                                    on or before 3:00 o’clock p.m. the day before the pre-trial conference which
                                    paragraphs are agreed to and those that need to be addressed at the pre-trial
                                    conference.
    Apr. 7, 2011                    Pretrial Objections due.
    Apr. 1, 2011                    Objections to Rebuttal Deposition Testimony due.




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    Mar. 25, 2011                   Rebuttal Designations and Objections to Deposition Testimony due. Cross
                                    examination line and page numbers to be included. In video depositions, each
                                    party is responsible for preparation of the final edited video in accordance with
                                    their parties’ designations and the Court’s rulings on objections.
    Mar. 16, 2011                   Pretrial Disclosures due.

                                    Video and Stenographic Deposition Designation due. Each party who
                                    proposes to offer deposition testimony shall file a disclosure identifying the
                                    line and page numbers to be offered.
    Feb. 25, 2011                   Joint Pretrial Order, Joint Proposed Jury Instructions with citation to authority
                                    and Form of the Verdict for jury trials due. Proposed Findings of Fact and
                                    Conclusions of Law with citation to authority for issues tried to the bench.

                                    Notice of Request for Daily Transcript or Real Time Reporting of Court
                                    Proceedings due. If a daily transcript or real time reporting of court
                                    proceedings is requested for trial or hearings, the party or parties making said
                                    request shall file a notice with the Court and email the Court Reporter, Shea
                                    Sloan, at shea_sloan@txed.uscourts.gov.
    Feb. 8, 2011                    Response to Dispositive Motions (including Daubert motions) due.
                                    Responses to dispositive motions filed prior to the dispositive motion deadline,
                                    including Daubert motions, shall be due in accordance with Local Rule CV-56
                                    and Local Rule CV-7. Motions to extend page limits will only be granted in
                                    exceptional circumstances.
    Jan. 24, 2011                   Dispositive Motions due from all parties and any other motions that may
                                    require a hearing (including Daubert motions) due. Motions shall comply
    Court designated date – not     with Local Rule CV-56 and Local Rule CV-7. Motions to extend page limits
    flexible without good cause –   will only be granted in exceptional circumstances.
    Motion Required

    Jan. 21, 2011                   Parties to Identify Rebuttal Trial Witnesses.
    Jan. 10, 2011                   Parties to Identify Trial Witnesses; Amend Pleadings (after Markman
                                    Hearing). It is not necessary to file a Motion for Leave to Amend before the
                                    deadline to amend pleadings. It is necessary to file a Motion for Leave to
                                    Amend after the deadline. However, except as provided in Patent Rule 3-6, if
                                    the amendment would effect infringement contentions or invalidity
                                    contentions, a motion must be made pursuant to Patent Rule 3-6 irrespective of
                                    whether the amendment is made prior to this deadline.
    Dec. 20, 2010                   Discovery Deadline.
    Nov. 22, 2010                   Parties designate rebuttal expert witnesses (non-construction issues), Rebuttal
                                    expert witness reports due. Refer to Local Rules for required information.
    Nov. 8, 2010                    Parties with burden of proof designate expert witnesses (non-construction
                                    issues). Expert witness reports due. Refer to Local Rules for required
                                    information.
    Oct. 8, 2010                    Comply with P.R.3-7 - Furnishing documents and privilege logs pertaining to
                                    willful infringement.




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    Sep. 2, 2010                    Markman hearing and hearing on any Motion for Summary Judgment of
                                    Indefiniteness at 9:30 a.m. at the United States District Court, 211 West
    Court designated date – not     Ferguson, 3rd Floor, Courtroom of Judge Leonard Davis, Tyler, Texas.
    flexible without good cause –
    Motion Required

    Aug. 26, 2010                   P.R. 4-5(d) Chart due. Parties shall jointly submit a claim construction chart
                                    on computer disk in WordPerfect format or in such other format as the Court
                                    may direct in accordance with P.R. 4-5(d).

                                    Reply to Motion for Summary Judgment of Indefiniteness due. The filing
                                    party is to provide the Court with 2 binders containing their brief and exhibits
                                    appropriately tabbed. If a technical advisor has been appointed the moving
                                    party is to provide their brief on disk or CD along with a hard copy, tabbed and
                                    bound in notebook format with exhibits to the advisor.

                                    Briefing shall comply with Local Rules CV-7 and 56 and Patent Rule 4-5(e).
                                    Motions to extend page limits will only be granted in exceptional
                                    circumstances.
    Aug. 16, 2010                   Parties to file a notice with the Court stating the estimated amount of time
                                    requested for the Markman Hearing. The Court will notify the parties if it is
                                    unable to accommodate this request.

                                    Comply with P.R. 4-5(c) - Reply brief and supporting evidence due re
                                    response to claim construction. The filing party is to provide the Court with 2
                                    binders containing their reply brief and exhibits appropriately tabbed. If a
                                    technical advisor has been appointed the moving party is to provide their brief
                                    on disk or CD along with a hard copy, tabbed and bound in notebook format
                                    with exhibits to the advisor.

                                    Response to Motion for Summary Judgment of Indefiniteness due. The
                                    filing party is to provide the Court with 2 binders containing their brief and
                                    exhibits appropriately tabbed. If a technical advisor has been appointed the
                                    moving party is to provide their brief on disk or CD along with a hard copy,
                                    tabbed and bound in notebook format with exhibits to the advisor.

                                    Briefing shall comply with Local Rules CV-7 and 56 and Patent Rule 4-5(e).
                                    Motions to extend page limits will only be granted in exceptional
                                    circumstances.




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    July 30, 2010    Comply with P.R. 4-5(b) - Responsive brief and supporting evidence due to
                     party claiming patent infringement. The filing party is to provide the Court
                     with 2 binders containing their Markman brief and exhibits appropriately
                     tabbed. If a technical advisor has been appointed the moving party is to
                     provide their Markman brief on disk or CD along with a hard copy, tabbed and
                     bound in notebook format with exhibits to the advisor.

                     Motion for Summary Judgment of Indefiniteness due. The moving party is
                     to provide the Court with 2 binders containing their brief and exhibits
                     appropriately tabbed. If a technical advisor has been appointed the moving
                     party is to provide their brief on disk or CD along with a hard copy, tabbed and
                     bound in notebook format with exhibits to the advisor.

                     Briefing shall comply with Local Rules CV-7 and 56 and Patent Rule 4-5(e).
                     Motions to extend page limits will only be granted in exceptional
                     circumstances.
    Jul. 16, 2010    Comply with P.R. 4-5(a) - The party claiming patent infringement shall serve
                     and file an opening brief and any evidence supporting its claim construction.
                     The filing party is to provide the Court with 2 binders containing their
                     Markman brief and exhibits appropriately tabbed. If a technical advisor has
                     been appointed the moving party is to provide their Markman brief on disk or
                     CD along with a hard copy, tabbed and bound in notebook format with exhibits
                     to the advisor.

                     Briefing shall comply with Local Rules CV-7 and 56 and Patent Rule 4-5(e).
                     Motions to extend page limits will only be granted in exceptional
                     circumstances.
    Jul. 14, 2010    Tutorials due. Deadline for parties, if they desire, to provide Court with
                     tutorials concerning technology involved in patent. If a technical advisor has
                     been appointed, each party that provides a tutorial shall provide a copy to the
                     advisor.
    Jul. 7, 2010     Discovery Deadline - Claim Construction Issues.
    Jul. 1, 2010     Respond to Amended Pleadings.
    Jun. 24, 2010    Proposed Technical Advisors due. Parties to provide name, address, phone
                     number, and curriculum vitae for up to three agreed technical advisors and
                     information regarding the nominees’ availability for Markman hearing or a
                     statement that they could not reach an agreement as to any potential technical
                     advisor. If the parties cannot agree on a technical advisor, they shall not
                     submit any proposed technical advisors to the Court.
    Jun. 17, 2010    Amended Pleadings (pre-claim construction) due from all parties. It is not
                     necessary to file a Motion for Leave to Amend before the deadline to amend
                     pleadings. It is necessary to file a Motion for Leave to Amend after the
                     deadline. However, if the amendment would affect infringement contentions
                     or invalidity contentions, a motion must be made pursuant to Patent Rule 3-7
                     irrespective of whether the amendment is made prior to this deadline.
    Jun. 14, 2010    Comply with P.R. 4-3 - Filing of Joint Claim Construction and Prehearing
                     Statement.




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    May 14, 2010             Comply with P.R. 4-2 - Exchange of Preliminary Claim Constructions and
                             Extrinsic Evidence. Privilege Logs to be exchanged by parties (or a letter to
                             the Court stating that there are no disputes as to claims of privileged
                             documents).
    Mar. 29, 2010            Comply with P.R. 4-1 - Exchange Proposed Terms and Claim Elements for
                             Construction.
    Feb. 17, 2010            Comply with P.R. 3-3 and 3-4- Invalidity Contentions due. Thereafter, it is
                             necessary to obtain leave of Court to add and/or amend invalidity contentions,
                             pursuant to Patent Rule 3-6.

                             Defendant shall join additional parties. It is not necessary to file a motion to
                             join additional parties prior to this date. Thereafter, it is necessary to obtain
                             leave of Court to join additional parties.

                             Defendant shall assert any counterclaims. After this deadline, leave of Court
                             must be obtained to assert any counterclaims.

                             Add any inequitable conduct allegations to pleadings. It is not necessary to file
                             a motion for leave to add inequitable conduct allegations to pleadings prior to
                             this date. Thereafter, it is necessary to obtain leave of Court to add inequitable
                             conduct allegations to pleadings.
    Dec. 4, 2009             Parties shall submit to the Court either a joint proposal for protective order and
                             any other agreements regarding discovery not encompassed by the discovery
                             order or the parties’ competing proposals regarding the same.
    Nov. 6, 2009             Comply with P.R. 3-1 and P.R. 3-2 - Disclosure of Asserted Claims and
                             Infringement Contentions due. Thereafter, it is necessary to obtain leave of
                             Court to add and/or amend infringement contentions, pursuant to Patent Rule
                             3-6.

                             Plaintiff shall join additional parties. It is not necessary to file a motion to join
                             additional parties prior to this date. Thereafter, it is necessary to obtain leave
                             of Court to join additional parties.

                             Plaintiff shall add new patents and/or claims for patents-in-suit. It is not
                             necessary to file a motion to add additional patents or claims prior to this date.
                             Thereafter, it is necessary to obtain leave of Court to add patents or claims.
    Deadline Date            Mediation to be completed. (Name), (address), and (phone number) is
                             appointed as mediator in this cause. Mediation shall be conducted in
                             accordance with the Court-Annexed Mediation Plan. See Appendix H to
                             Local Rules, available on the Court’s website at www.txed.uscourts.gov.
    No. of trial days        EXPECTED LENGTH OF TRIAL


           In the event that any of these dates fall on a weekend or Court holiday, the deadline is modified to
   be the next Court business day.

             The parties are directed to Local Rule CV-7(d), which provides in part that “[i]n the event a party
   fails to oppose a motion in the manner prescribed herein the Court will assume that the party has no
   opposition.” Local Rule CV-7(e) provides that a party opposing a motion has 15 days in which to serve




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   and file supporting documents and briefs after which the Court will consider the submitted motion for
   decision.

                                            OTHER LIMITATIONS

           (a)       All depositions to be read into evidence as part of the parties’ case-in-chief shall be
                     EDITED so as to exclude all unnecessary, repetitious, and irrelevant testimony; ONLY
                     those portions which are relevant to the issues in controversy shall be read into evidence.
           (b)       The following excuses will not warrant a continuance nor justify a failure to comply with
                     the discovery deadline:

                     (i)     The fact that there are motions for summary judgment or motions to dismiss
                             pending;
                     (ii)    The fact that one or more of the attorneys is set for trial in another court on the
                             same day, unless the other setting was made prior to the date of this order or was
                             made as a special provision for the parties in the other case;
                     (iii)   The failure to complete discovery prior to trial, unless the parties can
                             demonstrate that it was impossible to complete discovery despite their good faith
                             effort to do so.




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